
676 S.E.2d 51 (2009)
STATE of North Carolina
v.
Dennis PATTON.
No. 46P09.
Supreme Court of North Carolina.
March 19, 2009.
Hoang V. Lam, for Patton.
Catherine F. Jordan, Assistant Attorney General, Jeff Hunt, District Attorney, for State of NC.

ORDER
Upon consideration of the petition filed by Defendant on the 26th day of January 2009 in this matter for a writ of certiorari to review the decision of the North Carolina Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Dismissed by order of the Court in conference, this the 19th day of March 2009."
